0:00
0:03
0:05
0:06

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Exhibit 4 — Transcription Audio Exhibit C

Dispatch: 8 & 10, can I have you clear for priority?

Eight: 8

Ten:. 10

Dispatch: 1360 E Hickory St. 1-3-6-0 E. Hickory on UUW. Ava Sean Johnson is

here saying something about having a 32 caliber. Not cooperative at all, saying he is coming
back, keeps repeating the exact same thing. Came in a vehicle with a South Carolina 28,

SLD194.

0:33 Eight: 8

0:34 Ten: 10

0:36 ?? I’m going to have that van at the bank at 1400 N. Water.

0:40 ?? I copy.

0:42 Dispatch: 8 & 10, vehicle is going to be a white Mazda.

0:46 Seven: Seven, Central I’m going to en route ***

0:49 Dispatch: 10-4

0:51: Davis: Five Central, white Mazda just drove northbound 1300 N Lowber. Do you have
any other units in the area?

0:57. Dispatch: That’s negative.

1:00 Macomb: Four is going to be 1060 area. Lowber North. Stand by. Lowber and
Walnut. Start me at 78. I’m getting behind the vehicle. It’s going to be a Florida 28.
1:11. Dispatch: 10-4. 202.

1:13. Macomb: North alley — start me at 78.

1:15 Dispatch: 0-2 can you head that way?

1:18 Davis: I will be getting out with him.

1:20 Dispatch: 10-4

1:21 Macomb: Suspect at gunpoint Central.

1:24 Dispatch: I copy.

1:25 Davis: Five’s out.

1:26 Dispatch: Five.
1:28
1:30
1:31
1:33
1:35
1:37
1:39
1:41
1:42
1:49
1:50
1:52

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Davis: Five, Central secure the air.

Dispatch:

** channel one.

Davis: Five, Central detained.

Dispatch:
Macomb:
Dispatch:
Macomb:
Dispatch:
Macomb:

Dispatch:

One detained. 1654

Four, Central we’re secure.

Four, I copy.

Four, Central, 28 out of Florida.

Four go ahead.

0943TE. This is going to be on a Mitsubishi Lancer.

10-4.

Davis: We didn’t advise you of the air back yet.

Dispatch:

Resume normal traffic channel one. ** checks negative valid to a Quartus

Stitt on a white Mitsubishi four door.

2:02
2:05
2:07
2:10
2:11
2:14
2:15

Eight: Eight, Central **

Dispatch: 1360 E. Hickory.

?? Do we got a name?

Dispatch: She did not give a name.

Macomb: Four, Central. 27-29 taken out of Florida as well.

Dispatch: Go ahead.

Macomb: Last name Stitt. First name Quartus, T-U-A-R-T-E-S, C-Charles middle

initial, date of birth 4/7/86, 04071986 male.

2:24: Dispatch:
valid out of Florida.

2:34 Macomb:

out.

10-4. 204 Stitt is negative. His Illinois license surrendered to Florida,

10-4. He was out...* 10-4 Central. Going to go ahead and clear this stop
